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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JOHN DOE,                                             :
                                                      :
                                      Plaintiff,      :
                                                      :   Civil Action No. 1:18-cv-1413
          v.                                          :
                                                      :   Hon. Janet T. Neff
MICHIGAN STATE UNIVERSITY,                            :
MICHIGAN STATE UNIVERSITY BOARD                       :
OF TRUSTEES; JOHN ENGLER, individually and            :
as agent for Michigan State University, KROLL         :
ASSOCIATES, INC., as agent for Michigan State         :
University, MARK EHLERS, individually and as          :
agent for Michigan State University, KENDRA           :
WALDSMITH, individually and as agent for              :
Michigan State University, ANDE DUROJAIYE,            :
individually and as agent for Michigan State          :
University, RICK SHAFER, individually and as          :
agent for Michigan State University, and DENISE
MAYBANK, individually and as agent for
Michigan State University,

                                      Defendants.

  UNOPPOSED MOTION OF DEFENDANTS MICHIGAN STATE UNIVERSITY,
 MICHIGAN STATE UNIVERSITY BOARD OF TRUSTEES, JOHN ENGLER, ANDE
 DUROJAIYE, RICK SHAFER, AND DENISE MAYBANK FOR CONTINUANCE OF
                       RULE 16 CONFERENCE

               On June 17, 2019, this Court scheduled a conference under Federal Rule of Civil

Procedure 16 for July 22, 2019.         Defendants Michigan State University, Michigan State

University Board of Trustees, John Engler, Ande Durojaiye, Rick Shafer, and Denise Maybank

(“MSU Defendants”) respectfully request that the Court continue the Rule 16 scheduling

conference. Lead Counsel for the MSU Defendants has a pre-paid family vacation scheduled for

July 19th through July 22nd and is not available.
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              The MSU Defendants have conferred with counsel for Plaintiff and for

Defendants Kroll Associates, Inc., Mark Ehlers, and Kendra Waldsmith, none of whom object to

rescheduling the Rule 16 conference.

                                            Respectfully submitted,

Dated: June 18, 2019                        s/ Michael E. Baughman
                                            _____________________________
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                                            University, Michigan State University Board
                                            of Trustees, Ande Durojaiye, John Engler,
                                            Rick Shafer, and Denise Maybank




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                               CERTIFICATE OF SERVICE

              I certify that on June 18, 2019, pursuant to Local Rule 5.7, I filed the foregoing

MSU Defendants’ Unopposed Motion for Continuance of the Rule 16 Conference through the

Court’s Electronic Case Filing (ECF) system.



                                             s/ Michael E. Baughman
                                             _____________________________
                                             Michael E. Baughman, Esq.




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